Case 1:21-cr-00390-GLR Document 3 Filed 09/29/21 Page 1of1

UNITED STATES DISTRICT COURT
‘FOR THE DISTRICT OF MARYLAND

UNITED STATES OF AMERICA S EA
CRIMINAL NG.

: (UNDER SEAL) O LR ol Ca ZA0

SCOTT ELI HARRIS,

Defendant.

 

MOTION TO SEAL INDICTMENT AND BENCH WARRANT

The United States of America, by its attorneys, Johnathan F, Lenzner, Acting United States
Attorney for the District of Maryland, and P. Michael Cunningham, Assistant United States
Attorney for said District, for the following reasons, moves this Honorable Court to order and
direct that until the defendant in the above-captioned matter is arrested, this Indictment and Bench
Warrant be SEALED:

The government believes that if the defendant becomes aware that charges have been filed
against him, he may seek to avoid apprehension and/or destroy evidence before the government
can secure a warrant to search for and seize relevant evidence. Therefore, the government
respectfully requests that the Indictment and Bench Warrant be sealed until the defendants are
apprehended.

Respectfully submitted,

Jonathan F. Lenzner
Acting United States Attorney

   

P. Michael Cunni sham
Assistant United States Attorney

ORDERED as prayed, this 24 _ day of September, 2021.

Yona

Thomas M. DiGirolamo
United States Magistrate Judge
